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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

 

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UNITED STATES OF AMERICA, : S10 19cr463 {DLC)
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DAVID MALEH, ; USDC SDNY
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DENISE COTE, District Judge: DATE FILED: 10 Uidez4

Criminal jury trials have resumed in the Southern District

 

of New York. Jury trials are being conducted in compliance with
the safety procedures implemented in this district. In order to
comply with those safety procedures, jury trials require complex
planning and coordination. This district is currentiy planning
to accommodate criminal jury trials that should occur between
January and March 2021.

The trial in this case is scheduled to occur on March 15,
2021. If the defendant wishes to resolve the charges by
entering a plea of guiity, it is anticipated that he will confer
with the Government and arrange with the Court to enter a plea
no later than three weeks before the date scheduled for trial.

It is hereby
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ORDERED that defense counsel shall advise the Court by
November 6, 2020 whether the defendant currently intends to

proceed to trial.

Dated: New York, New York
October 16, 2020

 

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DENISE COTE
United States District Judge

 
